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 7
                          UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10
     In re Subpoena to Cloudflare, Inc.           CIVIL ACTION NO.: 2:19-mc-00186
11
                                                  DECLARATION OF JEREMY S.   S.
12                                                GOLDMAN IN SUPPORT OF
                                                  REQUEST FOR DMCA SUBPOENA
13                                                PURSUANT TO 17 U.S.C. § 512(h)
                                                                 U.S.C. §
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                DECLARATION OF JEREMY S. GOLDMAN PURSUANT TO 17 U.S.C. §
                                                                       § 512(h)
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 1         I, Jeremy S. Goldman, declare as follows:
 2         1.    I am an attorney duly admitted to practice before this Court. I am a
 3 partner at Frankfurt Kumit
                        Kurnit Klein + Selz PC, attorneys for Petitioner SHAGMAG,
 4 INC. ("SHAG/vIAG").
        (“SHAGMAG”). I have personal knowledge of the facts set forth herein, and
 5 if called as a witness, I could and would competently testify thereto. I make this
                             SHAGMAG’s request, pursuant to 17 U.S.C. § 512(h), for
 6 declaration in support of SHAG/vIAG's
 7 a subpoena to Cloudflare, Inc.
 8 17 U.S.C. § 512(h) Authorizes the Clerk of the Court to Issue Subpoenas to
 9 Service Providers for Identification of Copyright Infringers
10         2.    17 U.S.C. § 512(h)(1) provides that "[a]
                                                     “[a] copyright owner or a person
11 authorized to act on the owner's
                            owner’s behalf may request the clerk of any United States
12 district court to issue a subpoena to a service provider for identification of an alleged
13 infringer in accordance with this subsection."
                                     subsection.”
14         3.    Pursuant to Section 512(h)(2), the request must include:
15         (A)   a copy of a notification described in subsection (c)(3)(A);
16         (B)   a proposed subpoena; and
17         (C)   a sworn declaration to the effect that the purpose for which the
18               subpoena is sought is to obtain the identity of an alleged infringer and
19               that such information will only be used for the purpose of protecting
20               rights under this title.
21         4.    Section 512(4) provides that, upon receipt of the above materials, "the
                                                                                    “the
22 clerk"
   clerk” (not the Court) "shall
                          “shall expeditiously issue and sign the proposed subpoena and
23 return it to the requester for delivery to the service provider."
                                                          provider.”
24         5.                                                        “shall authorize
                 The subpoena to be issued by the Clerk of the Court "shall
25 and order the service provider receiving the notification and the subpoena to
26 expeditiously disclose to the copyright owner or person authorized by the copyright
27 owner information sufficient to identify the alleged infringer of the material
28 described in the notification to the extent such information is available to the service

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                 DECLARATION OF JEREMY S. GOLDMAN PURSUANT TO 17 U.S.C. § 512(h)
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 1 provider."
   provider.” 17 U.S.C. § 512(h)(3).
 2 This Request Meets Each Requirement of 17
                                          17 U.S.C. § 512(0(2)
                                                      512(h)(2)
 3         6.    This request meets each requirement of 17 U.S.C. § 512(h)(2).
 4         7.    Attached hereto as Exhibit A is a true and accurate copy of the
 5 notifications of infringement that SHAGMAG submitted to Cloudflare, Inc. and
                                      512(c)(3).1
 6 thothub.tv pursuant to 17 U.S.C. § 512(c)(3).'
 7         8.    A copy of the proposed subpoena to be issued to Cloudflare, Inc. is
                                             event.2
 8 being filed on ECF herewith as a separate event.2
 9         9.    Pursuant to 512(h)(2)(C), I hereby swear that the purpose of the
10 subpoena is to obtain the identity or identities of alleged copyright infringers
11 identified on the subpoena. The information obtained will be used only for the
12 purpose of protecting the rights granted to our client, SHAG/vIAG,
                                                           SHAGMAG, INC., under the
13 U.S. Copyright Act, 17 U.S.C. § 101 et seq.
                                          seq.
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20 11 Cloudflare, Inc. is a "service
                            “service provider"
                                     provider” (as defined by 17 U.S.C. § 512(k)(1)) of the
                              “Infringing Website"),
    domain thothub.tv (the "Infringing    Website”), which is displaying and performing
21
    SHAGMAG’s copyright-protected content without authorization. Upon information
   SHAGMAG's
22 and belief, Cloudflare, Inc. is also a service provider for the Infringing Website's
                                                                              Website’s
   web hosts, BuyVM and/or FranTech Solutions, which are also directly and/or
23
   indirectly liable for the infringement and for which identifying information is also
24 sought in the subpoena.
25   22
     17 U.S.C. § 512(h)(6) provides that "the
                                           “the procedure for issuance and delivery of the
   subpoena, and the remedies for noncompliance with the subpoena, shall be governed
26 to the greatest extent practicable by those provisions of the Federal Rules of Civil
27 Procedure governing the issuance, service, and enforcement of a subpoena duces
   tecum.” Accordingly, the proposed subpoena is prepared in accordance with Fed. R.
   tecum."
28 Civ. P. 45.

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                DECLARATION OF JEREMY S. GOLDMAN PURSUANT TO 17 U.S.C. § 512(h)
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             1        10.   Based on the foregoing, I respectfully request that the Clerk of the
             2 Court expeditiously issue and sign the proposed subpoena and return it to the
             3 undersigned via ECF to be served on the service provider.
             4
             5        I declare under penalty of perjury that the foregoing is true and correct.
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             7        Executed on this 30th day of October, 2019, at Los Angeles, California.
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                            DECLARATION OF JEREMY S. GOLDMAN PURSUANT TO 17 U.S.C. § 512(h)
